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IN THE UNITED STATES DISTRICT COURT

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Billings
UNITED STATES OF AMERICA, Cause No. CR 11-140-BLG-SPW"Z
CV 15-022-BLG-SPW
Plaintiff/Respondent,
vs. ORDER GRANTING § 2255
MOTION AND SETTING

RODRICK D. GANT, RE-SENTENCING

Defendant/Movant.

 

 

This matter comes before the Court on Defendant/Movant Gant’s motion to
vacate, set aside, or correct the sentence under 28 U.S.C. § 2255. Gant is a federal
prisoner represented by counsel.

The controlling pleading is Gant’s second amended motion (Doc. 149). The
motion sets forth two claims for relief The first claim alleges that Gant’s
conviction and Sentence under 18 U.S.C. § 924(c) are invalid under the rule of
Johnson v. Um`tea’ States, _ U.S. _, 135 S. Ct. 2551 (2015). The second claim
alleges that trial counsel failed to relay to Gant all written plea offers, contrary to
the rule of Mz`ssouri v. Frye, 566 U.S. 133 (2012). The parties were required to
complete discovery before the end of 20 16. See Order (Doc. 163).

On January 23, 2017, Gant filed a motion for summary judgment on the

Johnson claim. As the motion does not mention the Fr'ye claim and Gant also does

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not seek an evidentiary hearing on that claim, the Court presumes he does not
intend to pursue it. It is denied as abandoned, as are any claims set forth in
pleadings filed prior to the second amended motion.
I. Background

On December 22, 2011, a grand jury indicted Gant and a co-def`endant,
Edwin Alberto Johnson, on one count of conspiracy to commit robbery in violation
of the Hobbs Act, 18 U.S.C. § 1951(a) (Count 1); one count of possessing or aiding
and abetting possession of a firearm in furtherance of a crime of violence, that is,
the conspiracy alleged in Count 1, a violation of 18 U.S.C. §§ 924(c)(1)(A) and 2
(Count 2); and one count of possessing a firearm after conviction of a
misdemeanor crime of domestic violence, a violation of 18 U.S.C. § 922(g)(9)
(Count 3). Following ajury trial, Gant was convicted on all three counts. See
Verdict (Doc. 84).

A presentence report was prepared. Based on a total offense level of 19 and
a criminal history category Was IV, the advisory guideline range on Counts 1 and 3
Was 46 to 57 months. Gant Was sentenced to serve 46 months in prison on Counts
1 and 3, plus a mandatory consecutive term of 60 months on Count 2, for a total
term of 106 months, to be followed by a five-year term of supervised release. See
Minutes (Doc. 112); Judgment (Doc. 113) at 2-3.

Gant appealed, but his conviction Was affirmed See Unz'ted States v. Gant,

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No. 13-30047 (9th Cir. Apr. 23, 2014) (mem. disp.) (Doc. 121). Gant’s conviction
became final on July 22, 2014. See Gonzalez v. Thaler, _ U.S. _, 132 S. Ct. 641,
653-54 (2012).

Gant now seeks relief under the United States Supreme Court’s recent
decision in Johnson v. United States, _ U.S. _, 135 S. Ct. 2551 (2015).

II. Merits

Everyone would agree that a person Who plans to use a firearm to commit a
robbery is planning to use or at least threaten violence. Gant’s plan for committing
a robbery included using a firearm. But that does not necessarily mean he
possessed a firearm in furtherance of a “crime of violence” within the meaning of
18 U.S.C. § 924(c).

A. “Crime of Violence”

Congress penalizes those who use a firearm to commit federal drug
trafficking crimes and federal crimes of violence, Pursuant to 18 USC
§924(c)(1)(A), a person who does the following will be penalized:

any person who, during and in relation to any crime of violence or

drug trafficking crime . . . for which the person may be prosecuted in

a court of the United States, uses or carries a firearm, or who, in

filrtherance of any such crime, possesses a firearm[.]

Drug trafficking is not at issue here. The question is whether Gant possessed a

firearm in furtherance of a “crime of violence.” Congress defines the term as

follows:

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For purposes of this subsection [§ 924(0)] the term “crime of
violence” means an offense that is a felony and-

(A) has as an element the use, attempted use, or threatened use of
physical force against the person or property of another, or

(B) that by its nature, involves a substantial risk that physical force
against the person or property of another may be used in the
course of committing the offense.
18 U.S.C. § 924(c)(3).

A person who trades a firearm for advice on how to commit tax fraud
arguably uses the firearm during and in relation to tax fraud, or at least possesses
the firearm in furtherance of tax fraud. Cf. Watson v. United States, 552 U.S. 74,
76 (2007); Smith v. United States, 508 U.S. 223, 241 (1993). But § 924(c) could
not apply to that person, because tax fraud is not a “crime of violence”-that is, it
does not have force as an element, and it does not “by its nature” involve a
substantial risk that force will be used.

A person who uses a firearm to extort advice on how to commit tax fraud is
at least threatening to use violence, and might even use violence, during and in
relation to the crime of tax fraud. It would be reasonable to authorize punishment
for using a firearm in that manner. Congress once did so. See Omnibus Crime
Control Act of 1970, Pub. L. No. 91-644, tit. II, § 13, 84 Stat. 1889, 1890 (Jan. 2,

1971) (authorizing additional one- to ten-year penalty for using a firearm to

commit or unlawfully carrying a firearm during commission of “any felony”

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prosecutable in court of the United States); Comprehensive Crime Control Act of
1984, Pub. L. No. 98-473, § 1005(a), 98 Stat. 1837, 2138-39 (Oct. 12, 1984)
(replacing former § 924(c) with provision imposing five-year sentence for using or
carrying a firearm during and in relation to a crime of violence); see also Firearms
Owners’ Protection Act, Pub. L. No. 99-308, § 104(a)(2)(F), 100 Stat. 449 (May
19, 1986) (enacting definition of “crime of violence” currently found in §

924(c)(3 )).

But Congress does not do so now. Since 1984, Congress has limited the
instances in which a person can be punished for using or carrying a firearm in
criminal activity. Section 924(c) could not apply to a person who uses a firearm to
extort tax fraud advice, because tax fraud does not meet Congress’s definition of a
crime of violence,

B. Categorical Approach

Gant conspired to commit a robbery. The question is Whether a conspiracy
to commit robbery meets Congress’s definition of a “crime of violence.”

Here, the key characteristic of Congress’s definition of a “crime of violence”
is that it applies to categories of crimes, not to the circumstances in which an
individual defendant uses or carries or possesses a firearm. Necessarily so, using a
firearm as a weapon to commit a crime would make any crime a violent one. But

if that was what Congress intended, the phrase “crime of violence” would be

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superfluous

Congress uses the identical phrase, “crime of violence,” elsewhere in Title
18, see § 16. It uses a similar phrase, “violent felony,” elsewhere in § 924, at
subsection 924(c)(2)(B). As to both § 924(c)(2)@3) and § 16, courts use a
“categorical approach” to decide whether a given crime fits Congress’ definition.
This approach looks “only to the statutory definitions” of the crime, “not to the
particular facts underlying” an individual defendant’s commission of the crime.
Taylor v. United States, 495 U.S. 575, 600 (1990); see also United States v.
Sherbona'y, 865 F.2d 996, 1009-10 (9th Cir. 1988) (holding that district court may
look only “to the statutes establishing the crimes,” not “the individual defendant’s
specific conduct in committing the . . . offense.”), cited in Taylor, 495 U.S. at 600.

The Ninth Circuit has long required courts use the categorical approach to
interpret § 924(c)(3) just as they interpret § 924(c)(2)(B) and § 16. See United
States v. Berzally, 843 F.3d 350, 352 (9th Cir. 2016); United States v. Mendez, 992
F.2d 1488 (9th Cir. 1993). Section 924(c) only penalizes those who possess a
firearm in hirtherance of some crimes. For the penalty to apply, the predicate
crime to a §924(c) conviction must always be a “crime of violence”, regardless of
how a particular defendant might commit the crime, and regardless of whether a
firearm is possessed in furtherance of it. “A crime cannot categorically be a ‘crime

of violence’ if the statute of conviction punishes any conduct not encompassed by

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the statutory definition of a ‘crime of violence.”’ Benally, 843 F.3d at 352.

C. The Residual Clause, § 924(c)(3)(B)

Robbery “involves a substantial risk that physical force against the person . .
. of another may be used in the course of committing the offense.” 18 U.S.C. §
924(c)(3)(B). Even if “use” is taken to mean an instrumental, purposeful
deployment of force, the residual clause only requires a substantial risk that force
may be used, not that it must be used or attempted or threatened every time.

This is where Gant’s reliance on Johnson comes in. Johnson concerned a
phrase in § 924(c)(2)(B) (the “Armed Career Criminal Act,” or “ACCA”), defining
a “violent felony” as a felony that “is burglary, arson, or extortion, involves use of
explosives, or otherwise involves conduct that presents a serious potential risk of
physical injury to another.” 18 U.S.C. § 924(e)(2)(B)(ii). Johnson held the
italicized portion, commonly called the residual clause, unconstitutionally vague.

Section 16(b) is a similar though not identical clause to §924(0)(3)(B).
Section 16(b) defines a “crime of violence” as a felony “that, by its nature,
involves a substantial risk that physical force against the person or property of
another may be used in the course of committing the ofense.” On April 17, 2018,
the United States Supreme Court affirmed the Ninth Circuit Court of Appeals in
holding that the residual clause of § 16(b) is unconstitutionally vague under the

rule of Johnson. See Sessions v. Dimaya, No. 15-1498, slip op. at 24-25 (U.S. Apr.

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17, 2018).

Even alter Dimaya, § 924(c)(3)(B) might not necessarily be
unconstitutionally vague, but it is in the Ninth Circuit. Mendez and Benally hold
that § 924(c)(3 )(B) is applied by using the categorical analysis, and that method
lies at the heart of Johnson and Dimaya. As the Supreme Court succinctly
explained in Welch v. United States, __ U.S. __, 136 S. Ct. 1257 (2016), Johnson
held that § 924(c)(2)(B)(ii) “failed not because it adopted a ‘serious potential risk’
standard but because applying that standard under the categorical approach
required courts to assess the hypothetical risk posed by an abstract generic version
of the offense.” Ia'. at 1262 (emphasis added). Acknowledging that some crimes
might be “clearly risky,” the Court nevertheless held the clause unconstitutionally
vague and unenforceable in any case, See Johnson, 135 S. Ct. at 2560-61.

Likewise, in Dimaya, the Supreme Court said:

[Section] 16(b) has the same two features that conspired to make

ACCA’s residual clause unconstitutionally vague. lt too requires a

court to picture the kind of conduct that the crime involves in the

ordinary case, and to judge whether that abstraction presents some

not-well-specified-yet-sufficiently-large degree of risk. The result is

that § 16(b) produces, just as ACCA’s residual clause did, more

unpredictability and arbitrariness than the Due Process Clause

tolerates.

Dimaya, No. 15-1498, slip op. at 11 (U.S. Apr. 17, 2018) (internal quotation

marks, brackets, and citations omitted).

This Court is not able to imagine how § 924(c)(3)(B), which is textually
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identical to § 16(b) and also applied by using categorical analysis, could be
salvaged. At least in the Ninth Circuit at this time, it is unconstitutionally vague.

D. Mendez and Law of the Circuit Doctrine

Gant asserts, and the United States agrees, that a conspiracy to commit a
Hobbs Act robbery does not have, as an element, the use or attempted or
threatened use of physical force against the person or property of another. See Def.
Br. (Doc. 166) at 5-10; U.S. Resp. (Doc. 168) at 8-10. Therefore, § 924(c)(3)(A)
need not be considered. However, one other point must be addressed.

In Mena'ez, the Ninth Circuit held that Gant’s crime-conspiracy to commit
a Hobbs Act robbery-is a “crime of violence” under 18 U.S.C. § 924(c)(3)(B).
lal. at 1491. Generally, a published decision of the Ninth Circuit Court of Appeals
is binding authority that “must be followed unless and until overruled by a body
competent to do so.” Hart v. Massanari, 266 F.3d 1155, 1170 (9th Cir. 2001).
Neither the Ninth Circuit nor the Supreme Court has overruled Mena'ez.

But a published decision loses its precedential force if subsequent binding
precedent has “undercut the theory or reasoning underlying the prior circuit
precedent in such a way that the cases are clearly irreconcilable.” Gonzalez`v.
Arizona, 677 F.3d 383, 389 n.4 (9th Cir. 2012) (en banc) (quoting Miller v.
Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en banc); Hart, 266 F.3d at 1170;

Jejj‘ries v. Wooa', 114 F.3d 1484, 1489 (9th Cir. 1997) (en banc)). In that

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circumstance, district courts instead “should consider themselves bound by the
intervening higher authority and reject the prior opinion . . . as having been
effectively overruled.” Gonzalez, 677 F.3d at 389 n.4.

The United States argues that “this offense involves Gant and another person
agreeing to rob another drug dealer and discuss[ing] their plans to kill the drug
dealer.” U.S. Resp. (Doc. 168) at 16. This argument fails to recognize binding
circuit precedent applying categorical analysis to § 924(c). Under categorical
analysis, Whether the defendant’s conduct “involved such facts is ‘quite
irrelevant.”’ Moncriejj"e v. Holder, _ U.S. _, 133 S. Ct. 1678, 1684 (2013)
(quoting United States ex rel. Guarino v. Uhl, 107 F.Zd 399, 400 (2d Cir. 1939)).
“How a given defendant actually perpetrated the crime . . . makes no difference.”
Mathis v. United States, _ U.S. _, 136 S. Ct. 2243, 2251 (2016).

Mendez remains binding precedent to the extent it applies the categorical
analysis under § 924(c). See, e.g., Benally, 843 F.3d at 352. Neither the Ninth
Circuit nor the Supreme Court has issued a decision that is “clearly irreconcilable”
with that portion of Mendez. But Mendez’s holding that conspiracy to commit a
Hobbs Act robbery is a crime of violence under 18 U.S.C. § 924(c)(3)(B), see 992
F.2d at 1491, is clearly irreconcilable With Johnson and Dimaya. The Court is not
bound to follow Mena’ez. In fact, the court is bound not to follow Mendez. See

Gonzalez, 677 F.3d at 389 n.4. Section 924(c)(3)(B) is unconstitutionally vague.

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III. Procedural Defense

Unless the United States is correct that Gant’s § 2255 motion is barred on
procedural grounds, he is entitled to relief. It asserts that the motion is not timely
because the claim does not relate back to the timely-filed original § 2255 motion,
see 28 U.S.C. § 2255(f`)(l); Mayle v. Felix, 545 U.S. 644, 664 (2005), and §
2255(f)(3) does not apply. See Answer (Doc. 154) at 4-9; Resp. to Mot. (Doc.
168) at 5-8.l

A. Statute of Limitations

The statute of limitations, 28 U.S.C. § 2255(f), provides:

(f) A l-year period of limitation shall apply to a motion under this
section. The limitation period shall run from the latest of_

(1) the date on which the judgment of conviction becomes final; [or]

(3) the date on which the right asserted Was initially recognized by
the Supreme Court, if that right has been newly recognized by
the Supreme Court and made retroactively applicable to cases
on collateral review[.]

The United States argues that Johnson did not mention § 924(c) and, as a

result, Gant cannot identify a “righ ” the Supreme Court has recognized as

 

l When the United States was ordered to respond to Gant’s second amended motion, it
was advised it must “raise and brief any and all defenses it wishes the Court to consider.
Defenses not raised will be deemed waived.” Order (Doc. 151) at 1 11 1. The United States’
answer to the § 2255 motion did not mention procedural default See Mot. to Dismiss and Resp.
to Mot. (Doc. 154), passim. Therefore, procedural default will not be addressed

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applicable in his case, See Answer at 8-9. In sum, the United States claims Gant’s
motion is too late under § 225 5(f)(l) and, if anything, premature under §
2255(f`)(3).
For four reasons, the Court disagrees with this interpretation
1. Narrow Scope of the “Right”

First, the United States suggests Johnson announces only “a defendant’s
right not to have his sentence increased under the residual clause of the ACCA,” as
the Tenth Circuit recently put it. See United States v. Greer, 881 F.3d 1241, 1248
(10th Cir. 2018) (holding that Johnson did not make timely under § 2255(f)(3) a §
2255 motion seeking relief against sentence imposed under mandatory Guidelines
scheme).

But § 2255 does not say anything requiring a federal court to define “the
right asserted” so narrowly. It is just as accurate to say that Johnson announced a
right not to be penalized under a clause that is applied by categorical analysis and
“ha[s] both an ordinary-case requirement and an ill-defined risk threshold.” See
Dimaya, No. 15-1498, slip op. at 24. Dimaya confirms the latter characterization
of the “right” established by Johnson. In that case, the Supreme Court said,
“Johnson is a straightforward decision, with equally straightforward application
here,” and “tells us how to resolve this case” under § 16(b) of Title 18, Dimaya,

No. 15-1498, slip op. at 6, 24. If the right recognized in Johnson were confined to

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ACCA, Dimaya would not have been decided as it was.
2. Delay

Second, the United States suggests Gant must wait to file his § 2255 motion
until the Supreme Court decides a case under § 924(c). But, as Chief Justice
Roberts pointed out in his dissent in Dimaya, the language of § 16(b) is
incorporated or repeated in numerous places in the U.S. Code, “including
provisions concerning racketeering, money laundering, domestic violence, using a
child to commit a violent crime, and distributing information about the making or
use of explosives,” as well as § 924(c). See Dimaya, No. 15-1498, slip op. at 14-
15 (Roberts, Ch. J., dissenting). The United States’ argument would seem to
require the Supreme Court to decide whether the “right” in Johnson applies to each
Statute before a federal defendant could file a § 2255 motion.

Congress intended the statute of limitations “to eliminate delays in the
federal habeas review process,” Holland v. Floria'a, 560 U.S. 631, 648 (2010), not
to create them. Requiring people who “assert” that Johnson gives them a right to
relief to file within a year of Johnson’s issuance serves Congress’s purpose much
better. Anyone who asserts that a later case applying Johnson confers a right to
relief-say, Dimaya, or a case specifically addressing § 924(c)_is unlikely to
receive the benefit of § 225 5(f)(3), because the Court “initially recognized” the

“right asserted” in Johnson, not in Dimaya or a later case,

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3. Redundancy

Third, the United States’ argument needlessly entangles the question of
when to file with the decision as to whether the movant actually has the right he
asserts: If the filing is timely, it is meritorious; if it lacks merit, it is untimely.
This leaves the limitations period with no work to do. Statutes of limitation are not
generally redundant with the merits of a claim in this way.2

The other provisions of the limitations period, § 2255(f)(1), (2), and (4), are
independent of the merits of the claim presented By simply reading § 2255(f)(3)
to require a defendant asserting a new right to relief to file Within a year of the
Supreme Court’s initial decision recognizing the right, § 2255(f)(3) is as easy to
apply and as independent of the merits as the other subsections of the limitations

period,

4. Section 2255(1`) vs. Section 2254(d)
Finally, the United States’ interpretation seeks to turn a timeliness provision
into a restriction on federal courts’ responsibility to say what the law is in federal

criminal cases on collateral review. Some courts have found that § 225 5(f)(3)

imports Teague v. Lane, 489 U.S. 288 (1989)_which had nothing to do with a

 

2 On the other hand, a motion that lacks merit might still be timely if equitable tolling
applies or, in the case of a state prisoner, if statutory tolling applies. See 28 U.S.C. §
2244(d)(1)(C), (d)(2). So the “new right” limitations period would be worse than redundant

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statute of limitations_into one subsection of the statute of limitations that now
applies to federal prisoners filing § 2255 motions. See, e.g., Greer, 881 F.3d at
1246-47.

Section 2255 imposes several restrictions, but it does not go as far as some
courts have held. Section 225 5(f)(3) does limit federal prisoners to asserting new
rights that are recognized by the Supreme Court, as opposed to new rights
recognized by federal appellate courts or conferred by federal statutes or rules. A
provision restricting second or successive motions, § 2255(h)(2), does limit federal
courts’ authority to hear successive motions that are based on new constitutional
rules, but it simply requires the Supreme Court to recognize the rule and also say it
is retroactive Section 2255(h) does not say anything that restricts the scope or
application of a new constitutional rule.

If Congress wanted to restrict federal courts’ authority to award collateral
relief to federal prisoners, it knew how to do it. It did curtail federal courts’
authority to award federal habeas relief to state prisoners. 28 U.S.C. § 2254(d)(1)
provides that an application for federal habeas relief “shall not be granted unless”
the state courts’ decision of the claim was “contrary to, or an unreasonable
application of`, clearly established Federal law as determined by the Supreme Court
of the United States.”

To do the same thing in § 2255 , where rights newly recognized by the

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Supreme Court are concerned, Congress would have said something very simple,
for instance, “A motion based on a newly recognized right shall not be granted
unless the movant’s right to relief is clearly established by the Supreme Court of
the United States.” As Congress did not say that, § 2255 does not limit collateral
relief for federal prisoners to cases where relief is dictated by precedents of the
Supreme Court.

5. Conclusion

Gant asserts that Johnson gives him a right to relief. He filed within one
year of the date the Supreme Court decided Johnson. His § 2255 motion is timely
under § 2255(f)(3).

IV. Conclusion

Section 924(c)(3)(B) is unconstitutionally vague because it uses the same
language and is interpreted by the same method as the provisions at issue in
Johnson and Dimaya. Gant did not commit a “crime of violence” and his
conviction on Count 2 is invalid. Further, his motion was timely filed.

Gant’s conviction on Count 2 will be vacated and he will be re-sentenced on
Counts 1 and 3. See Dean v. United States, _ U.S. _, 137 S. Ct. 1170, 1176
(2017); Greenlaw v. United States, 554 U.S. 237, 253-54 (2008); United States v.
Handa, 122 F.3d 690, 691-92 (9th Cir. 1997). The new sentence Will be

determined by applying 18 U.S.C. § 3553(a) and, except as limited by Peugh v.

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Unitea' States, 569 U.S. 530 (2013), the 2016 Sentencing Guidelines Manual.
A certificate of appealability need not be considered because this decision is

not adverse to Gant. See Rule ll(a), Rules Governing § 2255 Proceedings.

Accordingly, IT IS HEREBY ORDERED as follows:

l. Gant’s motion for summary judgment (Doc. 165) and his second
amended motion to vacate, set aside, or correct the sentence under 28 U.S.C. §
2255 (Doc. 149) are GRANTED as to the Johnson claim only. All other claims are
DENIED.

2. The conviction on Count 2 is VACATED.

3. Sentencing is set for Thursday, September 13, 2018, at 9:30 a.m. in the
James F. Battin Courthouse, Billings, Montana.

4. The United States Probation Office shall conduct a supplemental
presentence investigation and prepare a new presentence report omitting conviction
and sentence on Count 2. Fed. R. Crim. P. 32(c), (d); 18 U.S.C. § 3552(a).

5. The probation officer shall disclose the completed report, except for
recommendations of the probation officer, to Defendant, counsel for Defendant,
and counsel for the government on or before July 25, 2018, The probation officer
shall not disclose any recommendation made or to be made to the Court,

6. If restitution is mandatory, the probation officer shall discuss a payment

plan with Defendant and shall make recommendations to the Court concerning

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interest and a payment schedule.

7. Counsel shall attempt in good faith to resolve disputes over any material
in the presentence report, Unresolved objections to be relied upon at sentencing
shall be presented to the probation officer on or before August 8, 2018. U.S.S.G. §
6A1.2. Any unresolved objections are expected to be included in the pre-
sentence report, not in a sentencing memorandum.

8. The presentence report, in final forrn, including any unresolved
objections, shall be delivered to the Court and the parties on or before August 22,
2018.

9. Sentencing memoranda and supporting documents addressing all relevant
sentencing issues shall be filed on or before August 29, 2018. Absent good cause
shown, sentencing memoranda and supporting documents filed after August 29,
2018, will not be considered in addressing sentencing issues. Failure to timely file
sentencing memoranda may result in imposition of sanctions against counsel.

10. Responses to sentencing memoranda shall be filed on or before
September 5, 2018.

11. Reply briefs will not be accepted for filing in sentencing matters.

12. The Court will resolve objections included in the Addendum to the
presentence report at the sentencing hearing in accordance With U.S.S.G. § 6Al .3.

13. All parties that intend to have witnesses testify at sentencing shall give

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notice to this Court ten days prior to the sentencing date.

14. The United States Marshals Service must transport Rodrick D. Gant,
BOP # 11519-046, to the District of Montana. Gant must be present in Montana
and available to consult with counsel at least 30 days before sentencing

15. When an Amended Judgment is entered in the criminal case, the clerk
shall enterjudgment in the civil action, by separate document, in favor of Gant and
against the United States.

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DATED this 1 day OrMay, 2018.

AM»K-&</QNZM

SUSAN P. WATTERS
United States District Court Judge

cc: USMS
USPO

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